905 F.2d 1532Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Delfa Ramirez MARTINEZ, Defendant-Appellant.
    No. 89-6342.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 20, 1990.Decided May 4, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., District Judge.  (CR No. 87-127-N;  C/A No. 89-702)
      Delfa Ramirez Martinez, appellant pro se.
      Robert W. Weichering, Office of the United States Attorney, Norfolk, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before MURNAGHAN, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Delfa Ramirez Martinez appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Martinez, CR No. 87-127-N;  C/A No. 89-702 (E.D.Va. Oct. 12, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    